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 4                           UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF WASHINGTON
 6
 7   UNITED STATES OF AMERICA,                          No. 2:17-CR-00101-WFN-18

 8                        Plaintiff,                    ORDER GRANTING MOTION TO
 9                                                      MODIFY PRETRIAL RELEASE
                          v.                            CONDITIONS
10
11   EDWARD WAYNE FEDELE,                                       MOTION GRANTED
                                                                  (ECF No. 565 )
12
                          Defendant.
13
14         Before the Court is Defendant’s Motion to Modify Pretrial Release
15   Conditions. ECF No. 565. Defendant recites that the United States does not object
16   to the request. See Declaration of Counsel, ECF No. 565 at 2. U.S. Probation
17   Officer Erik Carlson has contacted the Court and does not object to the proposed
18   modifications either.
19         Specifically, Defendant requests that the GPS monitoring ankle bracelet
20   condition be removed altogether and that the travel restriction be modified to allow
21   him to travel to Riverside, California from November 20-25, 2017, to visit family
22   for the holiday. ECF No. 565 at 1.
23         Therefore, IT IS ORDERED, that Defendant’s Motion, ECF No. 565, is
24   GRANTED. Defendant is permitted to travel to Riverside, California from
25   November 20-25, 2017, on the express condition that Defendant shall provide
26   Pretrial Services with the name and phone number of the landlord of the residence
27   where Defendant is to reside, and a telephone number where he may be contacted
28   at any time during this trip.



     ORDER - 1
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 1         Further, IT IS ORDERED, that Defendant is no longer subject to Special
 2   Release Condition No. 28. Defendant shall report to U.S. Probation for removal of
 3   his GPS monitoring ankle bracelet.
 4         All other terms and conditions of pretrial release not inconsistent herewith
 5   shall remain in full force and effect.
 6         IT IS SO ORDERED.
 7         DATED October 17, 2017.
 8
 9                                _____________________________________
                                            JOHN T. RODGERS
10                                 UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
